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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS


 UNITED STATES OF
 AMERICA
                                                   CRIMINAL No. 17-CR-10281-PBS

        v.

 MINERVA RUIZ

        Defendant


                    GOVERNMENT'S PROPOSED JURY INSTRUCTIONS


       The United States of America, by Andrew E. Lelling, United States Attorney, and Lauren

Graber and Benjamin Tolkoff, Assistant United States Attorneys for the District of

Massachusetts, hereby submits the following proposed jury instructions which are taken directly

from the First Circuit Pattern Criminal Jury Instructions:

       Preliminary Instructions:

       1.01 Duties of the Jury

       1.02 Nature of Indictment; Presumption of Innocence

       1.04 Preliminary Statement of Elements of Crime

       1.05 Evidence; Objections; Rulings; Bench Conferences

       1.06 Credibility of Witnesses

       1.07 Conduct of the Jury

       1.08 Notetaking

       1.09 Outline of the Trial
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Instructions Concerning Certain Matters of Evidence:

2.01 Stipulations

2.04 Impeachment of Witness Testimony by Prior Conviction

2.07 Weighing the Testimony of an Expert Witness

2.08 Caution as to Cooperating Witness/Accomplice/Paid Informant

2.11 Statements by Defendant

2.15 Definition of “Knowingly”

2.17 Definition of “Willfully”

Final Instructions: General Considerations:

3.01 Duty of the Jury to Find Facts and Follow Law

3.02 Presumption of Innocence; Proof Beyond a Reasonable Doubt

3.03 Defendant’s Constitutional Right Not to Testify

3.04 What Is Evidence; Inferences

3.05 Kinds of Evidence: Direct and Circumstantial

3.06 Credibility of Witnesses

3.08 What Is Not Evidence

Offenses Under Title 21:

4.21.841(a)(1)A, Possession with Intent to Distribute a Controlled Substance,

21 U.S.C. § 841(a)(1)

4.18.371(1) Conspiracy, 21 U.S.C. § 846.

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       The government respectfully reserves the right to modify this list or the specific

instructions as necessary.


                                             Respectfully submitted,

                                             ANDREW E. LELLING
                                             United States Attorney


                                     By:     /s/ Lauren Graber
                                             LAUREN GRABER
                                             Assistant United States Attorney
                                             617/748-3309

                                     By:     /s/ Ben Tolkoff
                                             BENJAMIN TOLKOFF
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                                 CERTIFICATE OF SERVICE

        I hereby certify that these documents filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF)
and paper copies will be sent to those indicated as non-registered participants.


                                              /s/ Ben Tolkoff__________
                                              BENJAMIN TOLKOFF
                                              Assistant United States Attorney




Date: July 1, 2019




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                                      1.01 Duties of the Jury

       Ladies and gentlemen: You now are the jury in this case, and I want to take a few

minutes to tell you something about your duties as jurors and to give you some instructions. At

the end of the trial I will give you more detailed instructions. Those instructions will control your

deliberations.

       It will be your duty to decide from the evidence what the facts are. You, and you alone,

are the judges of the facts. You will hear the evidence, decide what the facts are, and then apply

those facts to the law I give to you. That is how you will reach your verdict. In doing so you

must follow that law whether you agree with it or not. The evidence will consist of the testimony

of witnesses, documents and other things received into evidence as exhibits, and any facts on

which the lawyers agree or which I may instruct you to accept.

       You should not take anything I may say or do during the trial as indicating what I think of

the believability or significance of the evidence or what your verdict should be.




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                    1.02 Nature of Indictment; Presumption of Innocence

       This criminal case has been brought by the United States government. I will sometimes

refer to the government as the prosecution. The government is represented at this trial by an

Assistant United States Attorney, Lauren Graber and Benjamin Tolkoff. The defendant, Minerva

Ruiz, is represented by her lawyer, Joseph Krowski.

       The defendant has been charged by the government with violation of a federal law. She

is charged with two offenses, or counts.

       First, conspiring to possess with intent to distribute and to distribute heroin; and,

       Second, possessing heroin with intent to distribute and distribution of heroin.

       The charges against defendant are contained in the indictment. The indictment is simply

the description of the charge against defendant; it is not evidence of anything. Defendant pleaded

not guilty to the charge and denies committing the crime. She is presumed innocent and may not

be found guilty by you unless all of you unanimously find that the government has proven her

guilt beyond a reasonable doubt.




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                         1.04 Preliminary Statement of Elements of Crime

        In order to help you follow the evidence, I will now give you a brief summary of the

elements of the crimes charged, each of which the government must prove beyond a reasonable

doubt to make its case:

        As to Count One of the Indictment, Conspiracy to Possess With Intent to Distribute and

to Distribute Heroin:

        First, that the agreement specified in the indictment, and not some other agreement or

agreements, existed between at least two people to possess with intent to distribute heroin and to

distribute heroin; and

        Second, that the defendant willfully joined in that agreement.

        As to Count Two of the Indictment, Possession With Intent to Distribute and Distribution

of Heroin:

        First, that on or about August 24, 2017, defendant possessed heroin, either actually or

constructively;

        Second, that she did so with a specific intent to distribute the heroin over which she had

actual or constructive possession; and

        Third, that she did so knowingly and intentionally.

        You should understand, however, that what I have just given you is only a preliminary

outline. At the end of the trial I will give you a final instruction on these matters. If there is any

difference between what I just told you, and what I tell you in the instruction I give you at the

end of the trial, the instructions given at the end of the trial govern.




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                   1.05 Evidence; Objections; Rulings; Bench Conferences

       I have mentioned the word “evidence.” Evidence includes the testimony of witnesses,

documents and other things received as exhibits, and any facts that have been stipulated—that is,

formally agreed to by the parties.

       There are rules of evidence that control what can be received into evidence. When a

lawyer asks a question or offers an exhibit into evidence, and a lawyer on the other side thinks

that it is not permitted by the rules of evidence, that lawyer may object. This simply means that

the lawyer is requesting that I make a decision on a particular rule of evidence.

       Then it may be necessary for me to talk with the lawyers out of the hearing of the jury,

either by having a bench conference here while the jury is present in the courtroom, or by calling

a recess. Please understand that while you are waiting, we are working. The purpose of these

conferences is to decide how certain evidence is to be treated under the rules of evidence, and to

avoid confusion and error. We will, of course, do what we can to keep the number and length of

these conferences to a minimum.

       Certain things are not evidence. I will list those things for you now:

       (1) Statements, arguments, questions and comments by lawyers representing the parties

in the case are not evidence.

       (2) Objections are not evidence. Lawyers have a duty to their client to object when they

believe something is improper under the rules of evidence. You should not be influenced by the

objection. If I sustain an objection, you must ignore the question or exhibit and must not try to

guess what the answer might have been or the exhibit might have contained. If I overrule the

objection, the evidence will be admitted, but do not give it special attention because of the

objection.



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        (3) Testimony that I strike from the record, or tell you to disregard, is not evidence and

must not be considered.

        (4) Anything you see or hear about this case outside the courtroom is not evidence, unless

I specifically tell you otherwise during the trial.

        Furthermore, a particular item of evidence is sometimes received for a limited purpose

only. That is, it can be used by you only for a particular purpose, and not for any other purpose. I

will tell you when that occurs and instruct you on the purposes for which the item can and cannot

be used.

        Finally, some of you may have heard the terms “direct evidence” and “circumstantial

evidence.” Direct evidence is testimony by a witness about what that witness personally saw or

heard or did. Circumstantial evidence is indirect evidence, that is, it is proof of one or more facts

from which one can find or infer another fact. You may consider both direct and circumstantial

evidence. The law permits you to give equal weight to both, but it is for you to decide how much

weight to give to any evidence.




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                                   1.06 Credibility of Witnesses

        In deciding what the facts are, you may have to decide what testimony you believe and

what testimony you do not believe. You may believe everything a witness says or only part of it

or none of it.

        In deciding what to believe, you may consider a number of factors, including the

following: (1) the witness's ability to see or hear or know the things the witness testifies to; (2)

the quality of the witness's memory; (3) the witness's manner while testifying; (4) whether the

witness has an interest in the outcome of the case or any motive, bias or prejudice; (5) whether

the witness is contradicted by anything the witness said or wrote before trial or by other

evidence; and (6) how reasonable the witness's testimony is when considered in the light of other

evidence which you believe.




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                                      1.07 Conduct of the Jury

        To ensure fairness, you as jurors must obey the following rules:

        First, do not talk among yourselves about this case, or about anyone involved with it,

until the end of the case when you go to the jury room to decide on your verdict;

        Second, do not talk with anyone else about this case, or about anyone who has anything

to do with it, until the trial has ended and you have been discharged as jurors. “Anyone else”

includes members of your family and your friends. You may tell them that you are a juror, but do

not tell them anything about the case until after you have been discharged by me;

        Third, do not let anyone talk to you about the case or about anyone who has anything to

do with it. If someone should try to talk to you, please report it to me immediately;

        Fourth, during the trial do not talk with or speak to any of the parties, lawyers or

witnesses involved in this case—you should not even pass the time of day with any of them. It is

important not only that you do justice in this case, but that you also give the appearance of doing

justice. If a person from one side of the lawsuit sees you talking to a person from the other side—

even if it is simply to pass the time of day—an unwarranted and unnecessary suspicion about

your fairness might be aroused. If any lawyer, party or witness does not speak to you when you

pass in the hall, ride the elevator or the like, it is because they are not supposed to talk or visit

with you;

        Fifth, do not read any news stories or articles about the case or about anyone involved

with it, or listen to any radio or television reports about the case or about anyone involved with

it;




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       Sixth, do not do any research on the internet about anything in the case or consult blogs

or dictionaries or other reference materials, and do not make any investigation about the case on

your own;

       Seventh, do not discuss the case or anyone involved with it, or your status as a juror on

any social media or look up any of the participants there.

       Eighth, if you need to communicate with me simply give a signed note to the courtroom

deputy to give to me; and

       Ninth, do not make up your mind about what the verdict should be until after you have

gone to the jury room to decide the case and you and your fellow jurors have discussed the

evidence. Keep an open mind until then.




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                                          1.08 Notetaking

       I am going to permit you to take notes in this case, and the courtroom deputy has

distributed pencils and pads for your use. I want to give you a couple of warnings about taking

notes, however. First of all, do not allow your note-taking to distract you from listening carefully

to the testimony that is being presented. If you would prefer not to take notes at all but simply to

listen, please feel free to do so. Please remember also from some of your grade-school

experiences that not everything you write down is necessarily what was said. Thus, when you

return to the jury room to discuss the case, do not assume simply because something appears in

somebody's notes that it necessarily took place in court. Instead, it is your collective memory that

must control as you deliberate upon the verdict. Please take your notes to the jury room at every

recess. I will have the courtroom deputy collect them at the end of each day and place them in

the vault. They will then be returned to you the next morning. When the case is over, your notes

will be destroyed. These steps are in line with my earlier instruction to you that it is important

that you not discuss the case with anyone or permit anyone to discuss it with you.




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                                     1.09 Outline of the Trial

       The first step in the trial will be the opening statements. The government in its opening

statement will tell you about the evidence that it intends to put before you, so that you will have

an idea of what the government's case is going to be.

       Just as the indictment is not evidence, neither is the opening statement evidence. Its

purpose is only to help you understand what the evidence will be and what the government will

try to prove.

       After the government's opening statement, the defendant’s attorney may, if he chooses,

make an opening statement. At this point in the trial, no evidence has been offered by either side.

       Next the government will offer evidence that it says will support the charges against the

defendant. The government’s evidence in this case will consist of the testimony of witnesses,

and may include documents and other exhibits. In a moment I will say more about the nature of

evidence.

       After the government's evidence, defendant’s lawyer may make an opening statement and

present evidence in the defendant’s behalf, but he is not required to do so. I remind you that

defendant is presumed innocent, and the government must prove the guilt of defendant beyond a

reasonable doubt. Defendant does not have to prove her innocence.

       After you have heard all the evidence on both sides, the government and the defense will

each be given time for their final arguments. I just told you that the opening statements by the

lawyers are not evidence. The same applies to the closing arguments. They are not evidence

either. In their closing arguments the lawyers for the government and defendant will attempt to

summarize and help you understand the evidence that was presented.




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       The final part of the trial occurs when I instruct you about the rules of law that you are to

use in reaching your verdict. After hearing my instructions, you will leave the courtroom

together to make your decisions. Your deliberations will be secret. You will never have to

explain your verdict to anyone.

                                        2.01 Stipulations

       The evidence in this case includes facts to which the lawyers have agreed or stipulated. A

stipulation means simply that the government and the defendant accept the truth of a particular

proposition or fact. Since there is no disagreement, there is no need for evidence apart from the

stipulation. You must accept the stipulation as fact to be given whatever weight you choose.




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                2.04 Impeachment of Witness Testimony by Prior Conviction

       You have heard evidence that a witness has been convicted of a crime. You may consider

that evidence, together with other pertinent evidence, in deciding how much weight to give to

that witness's testimony.




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                        2.07 Weighing the Testimony of an Expert Witness

       You have heard testimony from persons described as experts. An expert witness has

special knowledge or experience that allows the witness to give an opinion.

       You may accept or reject such testimony. In weighing the testimony, you should consider

the factors that generally bear upon the credibility of a witness as well as the expert witness’s

education and experience, the soundness of the reasons given for the opinion and all other

evidence in the case.

Remember that you alone decide how much of a witness’s testimony to believe, and how much

weight it should be given.




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                   2.08 Caution as to Cooperating Witness/Paid Informant

       You have heard the testimony of a cooperating witness.

       He:

       1) provided evidence under agreements with the government; and

       2) received money from the government in exchange for providing information.

       Some people in this position are entirely truthful when testifying. Still, you should

consider the testimony of the cooperating witness with particular caution. He may have had

reason to make up stories or exaggerate what others did because he wanted to help himself. You

must determine whether the testimony of such a witness has been affected by any interest in the

outcome of this case, any prejudice for or against the defendant, or by any of the benefits he has

received from the government as a result of being immunized from prosecution.




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                                 2.11 Statements by Defendant

       You have heard evidence that the defendant made a statement in which the government

claims she admitted certain facts.

       It is for you to decide (1) whether the defendant made the statement, and (2) if so, how

much weight to give it. In making those decisions, you should consider all of the evidence about

the statement, including the circumstances under which the statement may have been made and

any facts or circumstances tending to corroborate or contradict the version of events described in

the statement.




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                                2.15 Definition of “Knowingly”

       The word “knowingly,” as that term has been used from time to time in these

instructions, means that the act was done voluntarily and intentionally and not because of

mistake or accident.




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                                 2.17 Definition of “Willfully”

       To act “willfully” means to act voluntarily and intelligently and with the specific intent

that the underlying crime be committed—that is to say, with bad purpose, either to disobey or

disregard the law—not to act by ignorance, accident or mistake.




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                      3.01 Duty of the Jury to Find Facts and Follow Law

       It is your duty to find the facts from all the evidence admitted in this case. To those facts

you must apply the law as I give it to you. The determination of the law is my duty as the

presiding judge in this court. It is your duty to apply the law exactly as I give it to you, whether

you agree with it or not. You must not be influenced by any personal likes or dislikes, prejudices

or sympathy. That means that you must decide the case solely on the evidence before you and

according to the law. You will recall that you took an oath promising to do so at the beginning of

the case.

       In following my instructions, you must follow all of them and not single out some and

ignore others; they are all equally important. You must not read into these instructions, or into

anything I may have said or done, any suggestions by me as to what verdict you should return—

that is a matter entirely for you to decide.




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              3.02 Presumption of Innocence; Proof Beyond a Reasonable Doubt

       It is a cardinal principle of our system of justice that every person accused of a crime is

presumed to be innocent unless and until his or her guilt is established beyond a reasonable

doubt. The presumption is not a mere formality. It is a matter of the most important substance.

The presumption of innocence alone may be sufficient to raise a reasonable doubt and to require

the acquittal of a defendant. The defendant before you, Minerva Ruiz has the benefit of that

presumption throughout the trial, and you are not to convict her of a particular charge unless you

are persuaded of her guilt of that charge beyond a reasonable doubt.

       The presumption of innocence until proven guilty means that the burden of proof is

always on the government to satisfy you that defendant is guilty of the crime with which she is

charged beyond a reasonable doubt. It is a heavy burden, but the law does not require that the

government prove guilt beyond all possible doubt; proof beyond a reasonable doubt is sufficient

to convict. This burden never shifts to defendant. It is always the government’s burden to prove

each of the elements of the crimes charged beyond a reasonable doubt by the evidence and the

reasonable inferences to be drawn from that evidence. Defendant has the right to rely upon the

failure or inability of the government to establish beyond a reasonable doubt any essential

element of a crime charged against her.

       If, after fair and impartial consideration of all the evidence, you have a reasonable doubt s

to defendant’s guilt of a particular crime, it is your duty to find her not guilty of that crime. On

the other hand, if, after fair and impartial consideration of all the evidence, you are satisfied

beyond a reasonable doubt of defendant’s guilt of a particular crime, you should find her guilty

of that crime.




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                     3.03 Defendant’s Constitutional Right Not to Testify

       The defendant has a constitutional right not to testify and no inference of guilt, or of

anything else, may be drawn from the fact that the defendant did not testify. For any of you to

draw such an inference would be wrong; indeed, it would be a violation of your oath as a juror.




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                               3.04 What Is Evidence; Inferences

       The evidence from which you are to decide what the facts are consists of sworn

testimony of witnesses, both on direct and cross-examination, regardless of who called the

witness; the exhibits that have been received into evidence; and any facts to which the lawyers

have agreed or stipulated. A stipulation means simply that the government and defendant accept

the truth of a particular proposition or fact. Since there is no disagreement, there is no need for

evidence apart from the stipulation. You must accept the stipulation as fact to be given whatever

weight you choose.

       Although you may consider only the evidence presented in the case, you are not limited

in considering that evidence to the bald statements made by the witnesses or contained in the

documents. In other words, you are not limited solely to what you see and hear as the witnesses

testify. You are permitted to draw from facts that you find to have been proven such reasonable

inferences as you believe are justified in the light of common sense and personal experience.




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                      3.05 Kinds of Evidence: Direct and Circumstantial

       There are two kinds of evidence: direct and circumstantial. Direct evidence is direct proof

of a fact, such as testimony of an eyewitness that the witness saw something. Circumstantial

evidence is indirect evidence, that is proof of a fact or facts from which you could draw the

inference, by reason and common sense, that another fact exists, even though it has not been

proven directly. You are entitled to consider both kinds of evidence. The law permits you to give

equal weight to both, but it is for you to decide how much weight to give to any evidence.




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                                  3.06 Credibility of Witnesses

       Whether the government has sustained its burden of proof does not depend upon the

number of witnesses it has called or upon the number of exhibits it has offered, but instead upon

the nature and quality of the evidence presented. You do not have to accept the testimony of any

witness if you find the witness not credible. You must decide which witnesses to believe and

which facts are true. To do this, you must look at all the evidence, drawing upon your common

sense and personal experience.

       You may want to take into consideration such factors as the witnesses’ conduct and

demeanor while testifying; their apparent fairness or any bias they may have displayed; any

interest you may discern that they may have in the outcome of the case; any prejudice they may

have shown; their opportunities for seeing and knowing the things about which they have

testified; the reasonableness or unreasonableness of the events that they have related to you in

their testimony; and any other facts or circumstances disclosed by the evidence that tend to

corroborate or contradict their versions of the events.




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                                    3.08 What Is Not Evidence

       Certain things are not evidence. I will list them for you:

       1. Arguments and statements by lawyers are not evidence. The lawyers are not witnesses.

What they say in their opening statements, closing arguments and at other times is intended to

help you interpret the evidence, but it is not evidence. If the facts as you remember them from

the evidence differ from the way the lawyers have stated them, your memory of them controls.

       2. Questions and objections by lawyers are not evidence. Lawyers have a duty to their

clients to object when they believe a question is improper under the rules of evidence. You

should not be influenced by the objection or by my ruling on it.

       3. Anything that I have excluded from evidence or ordered stricken and instructed you to

disregard is not evidence. You must not consider such items.

       4. Anything you may have seen or heard when the court was not in session is not

evidence. You are to decide the case solely on the evidence received at trial.

       5. The indictment is not evidence. This case, like most criminal cases, began with an

indictment. You will have that indictment before you in the course of your deliberations in the

jury room. That indictment was returned by a grand jury, which heard only the government’s

side of the case. I caution you, as I have before, that the fact that [defendant] has had an

indictment filed against [him/her] is no evidence whatsoever of [his/her] guilt. The indictment is

simply an accusation. It is the means by which the allegations and charges of the government are

brought before this court. The indictment proves nothing.




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         4.21.841(a)(1)A Possession With Intent to Distribute a Controlled Substance

21 U.S.C. § 841(a)(1)

         The defendant is accused of possessing heroin on about August 24, 2017, intending to

distribute it to someone else. It is against federal law to have heroin in your possession with the

intention of distributing it to someone else. For you to find the defendant guilty of this crime you

must be convinced that the government has proven each of these things beyond a reasonable

doubt:

         First, that the defendant on that date possessed heroin, either actually or constructively;

         Second, that she did so with a specific intent to distribute the heroin over which she had

actual or constructive possession; and

         Third, that she did so knowingly and intentionally.

         It is not necessary for you to be convinced that the defendant actually delivered the

heroin to someone else, or that she made any money out of the transaction. It is enough for the

government to prove, beyond a reasonable doubt, that she had in her possession what she knew

was heroin and that she intended to transfer it or some of it to someone else.

         A person’s intent may be inferred from the surrounding circumstances. Intent to

distribute may, for example, be inferred from a quantity of drugs larger than that needed for

personal use. In other words, if you find that defendant possessed a quantity of heroin—more

than that which would be needed for personal use—then you may infer that defendant intended

to distribute heroin. The law does not require you to draw such an inference, but you may draw

it.

         The term “possess” means to exercise authority, dominion or control over something. The

law recognizes different kinds of possession.



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       “Possession” includes both actual and constructive possession. A person who has direct

physical control of something on or around his or her person is then in actual possession of it. A

person who is not in actual possession, but who has both the power and the intention to exercise

control over something is in constructive possession of it. Whenever I use the term “possession”

in these instructions, I mean actual as well as constructive possession.

       “Possession” includes both sole possession and joint possession. If one person alone has

actual or constructive possession, possession is sole. If two or more persons share actual or

constructive possession, possession is joint. Whenever I have used the word “possession” in

these instructions, I mean joint as well as sole possession.

       If you find the defendant guilty, you will be asked to address one additional element

concerning the quantity of the substance involved. Like the other elements, the quantity of the

substance must be proved beyond a reasonable doubt.




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                               4.18.371(1) Conspiracy, 21 U.S.C. § 846

           The defendant is accused of conspiring to commit a federal crime―specifically, the

crime of conspiracy to possess with intent to distribute and to distribute heroin. It is against

federal law to conspire with someone to commit this crime.

           For you to find the defendant guilty of conspiracy, you must be convinced that the

government has proven each of the following things beyond a reasonable doubt:

           First, that the agreement specified in the indictment, and not some other agreement or

agreements, existed between at least two people to possess with intent to distribute and distribute

heroin; and

           Second, that the defendant willfully joined in that agreement.

           A conspiracy is an agreement, spoken or unspoken. The conspiracy does not have to be a

formal agreement or plan in which everyone involved sat down together and worked out all the

details.

           But the government must prove beyond a reasonable doubt that those who were involved

shared a general understanding about the crime. Mere similarity of conduct among various

people, or the fact that they may have associated with each other or discussed common aims and

interests does not necessarily establish proof of the existence of a conspiracy, but you may

consider such factors.

           To act “willfully” means to act voluntarily and intelligently and with the specific intent

that the underlying crime be committed—that is to say, with bad purpose, either to disobey or

disregard the law—not to act by ignorance, accident or mistake. The government must prove two

types of intent beyond a reasonable doubt before the defendant can be said to have willfully

joined the conspiracy: an intent to agree and an intent, whether reasonable or not, that the



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underlying crime be committed. Mere presence at the scene of a crime is not alone enough, but

you may consider it among other factors. Intent may be inferred from the surrounding

circumstances.

       Proof that the defendant willfully joined in the agreement must be based upon evidence

of her own words and/or actions. You need not find that defendant agreed specifically to or knew

about all the details of the crime, or knew every other co-conspirator or that she participated in

each act of the agreement or played a major role, but the government must prove beyond a

reasonable doubt that she knew the essential features and general aims of the venture. Even if the

defendant was not part of the agreement at the very start, she can be found guilty of conspiracy if

the government proves that she willfully joined the agreement later. On the other hand, a person

who has no knowledge of a conspiracy, but simply happens to act in a way that furthers some

object or purpose of the conspiracy, does not thereby become a conspirator. The government

does not have to prove that the conspiracy succeeded or was achieved. The crime of conspiracy

is complete upon the agreement to commit the underlying crime.

       If you find that the defendant is guilty of this conspiracy charge, you will also have to

determine whether the government has proven beyond a reasonable doubt that the conspiracy of

which he was a member involved one kilogram or more of heroin.




                                                 32
